Case 2:03-cV-02948-.]DB-tmp Document 48 Filed 05/16/05 Page 1 of 2 Page|D 56

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FoR THE wEsTERN DISTRICT oF TENNESSEE 95 mng 16 FM cr m
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Plaintiff,

V. ‘ NO. 03-2948-B/P

STATE OF TENNESSEE,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Mental Examination of Plaintiff filed on May
13, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. Y Rule 72(a), Federal Rules of Civil Procedure.

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IT IS SO ORDERED this !1=(,` day of May, 2005.

dba

J. DANIEL BREEN\
ED sTATEs DISTRICT JUDGE

Thls document entered on the docket sheet In coin/li ce
with ama ss and/or 79(3) FHcP on ' z 05\_ q

 

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This notice confirms a copy of the document docketed as number 48 in
case 2:03-CV-02948 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

